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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                     )
SHEENA MEDRANO                                       )
                                                     )
               Plaintiff,                            )      Civil Action No. 15-cv-10950
                                                     )
vs.                                                  )
                                                     )
ACCOUNT DISCOVERY SYSTEMS, LLC                       )
                                                     )
               Defendant.                            )

           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sheena Medrano

hereby provides notice of voluntary dismissal, with prejudice and without costs, disbursements,

or attorneys’ fees to either party as against the other, of the above-referenced matter against the

Defendants and requests that the case be closed.

Dated: October 19, 2016


/s John P. Carlin                            /s Brendan H. Little
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